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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 DC OPERATING, LLC d/b/a DREAMS;                  §
 NUVIA HEIDI MEDINA; and                          §
 MICHELLE CORRAL,                                 §
                                                  §
        Plaintiffs,                               §
                                                  §
 v.                                               §           EP-22-CV-00010-FM
                                                  §
 KEN PAXTON, in His Official Capacity             §
 as Attorney General of the State of Texas;       §
 ED SERNA, in His Official Capacity as            §
 Executive Director of the Texas                  §
 Workforce Commission; and RICHARD                §
 D. WILES, in His Official Capacity as            §
 Sheriff of El Paso County, Texas,                §
                                                  §
        Defendants.                               §

      ORDER DENYING MOTION FOR LEAVE TO FILE AMENDED PETITION

       Before the court are “Plaintiffs’ Memorandum in Support of Motion for Leave to File

Amended Pleading” [ECF No. 25], filed May 5, 2022, and “Motion for Explanation of Refusal to

Grant or Deny Leave of Court to Amend Pleading (Doc 25) Under F.R.C.P. 15,” [ECF No. 30],

filed July 8, 2022, by Plaintiffs DC Operating, LLC, Nuvia Heidi Medina, and Michelle Corral.

The court entered “Order Granting Motions to Dismiss” [ECF No. 29] on June 14, 2022,

dismissing all remaining defendants. Plaintiffs’ motions are therefore moot. Accordingly, the

court enters the following orders:

       1. It is HEREBY ORDERED that “Plaintiffs’ Memorandum in Support of Motion for

           Leave to File Amended Pleading” [ECF No. 25] is DENIED.




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2. It is FURTHER ORDERED that “Motion for Explanation of Refusal to Grant or Deny

   Leave of Court to Amend Pleading (Doc 25) Under F.R.C.P. 15,” [ECF No. 30] is

   DENIED.

SIGNED AND ENTERED this 18th day of October 2022.




                                        FRANK MONTALVO
                                        UNITED STATES DISTRICT JUDGE




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